Case 1:05-cr-10056-.]DT Document 13 Filed 07/27/05 Page 1 of 2 Page|D 18

|N THE UN|TED STATES DISTR|CT COURT
FOR THE WESTERN DlSTRICT OF TENNESSEE
EASTERN DlVlSlON

UN|TED STATES OF AMER|CA

Plaintiff, Cl". NO. 0 5 - 1 0 0 5 6 - 01- T

V.

M|CHAEL CREWS,
Defendant.

APPL|CAT|ON, ORDER and WR|T FOR HABEAS CORPUS AD PROSEQUENDUM

The United States Attorney’s Office applies to the Court for a VVrit to have M|CHAEL

CREWS now being detained in the Gibson County Jail, appear before the Honorab|e S. Thomas

Anderson on TO€DOA`], (33{3_9)(0'5 ,at Q'.OO a.m.@n"\:)for initial

appearance for such other appearances as this Court may direct.
Respectfu||y submitted this 320/m- day of Ju|y 2005.

 

 

 

ORDER

 

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tit UJiH

Upon consideration of the foregoing App|ication,

David Jo||ey, U. S. |V|arshai!, Western District of Tennessee and Gibson County§§@nff

YOU ARE HEREBY COMMANDED to have M|CHAEL CREWS ads ar be}_bre §
Honorab|e S. Thomas Anderson at the date and time aforementioned '

ENTEREDthis G?Q'¥‘- dayor §u.@. 2005.
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é.”i” A__

S. THOMAS ANDERSON
United States Magistrate Judge

This document entered on the docket shea in compliance
with Ruie 55 and/or 32(b) FRCrP on _ 0‘\’

 

DISTRIC COURT - WESTERN D"'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 13 in
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Honorable J ames Todd
US DISTRICT COURT

